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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERS EY     AT 8:30    '1 .' 01 ff'(I w:
                                                   CLERK, U.S. DISTRICT COURT. uN"



 UNITED STATES OF AMERICA                          Hon. (MCA)

       v.                                          Crim. No. 24-26

 CHRISTOPHER M. CODIO                              21 U.S.C. §§ 84l(a)(l) and
                                                   (b)(l)(C)


                                  IND ICTMENT

         The Grand Jury in and for the District of New Jersey, sitting a t

Newark, charges as follows:

        On or about April 28, 2022, in Bergen County, in the District of New Jersey,

and elsewhere, the defendant,

                             CHRISTOPHER M.CODIO,

did knowingly and intentionally possess with intent to distribute

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

controlled substance.

         In violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(C).
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